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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


DEBORAH BROWN, individually and on
behalf of all others similarly situated,               Civil Action No.:

        Plaintiffs,
v.                                                     COMPLAINT FOR DAMAGES

COVER GIRL COSMETICS and COTY, INC,

        Defendants.                                    DEMAND FOR JURY TRIAL



       Plaintiff Deborah Brown, on behalf of herself and all others similarly situated, files this
class action complaint against Defendants Cover Girl Cosmetics and Coty, Inc. On personal

knowledge of her own circumstances and upon investigation and information and belief of her

counsel, Plaintiff alleges the following:

                                 JURISDICTION AND VENUE

       1.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d)(2) because this civil action is a class action in which the matter in controversy exceeds

$5,000,000 exclusive of interest and costs, and Plaintiff and members of the putative class are

citizens of a state that is different than the states in which Defendants are citizens.

       2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to Plaintiff’s and the Class Members’ claims occurred

in this District, and Defendant is subject to the Court’s personal jurisdiction.

       3.       Defendant Coty, Inc. (“Coty”) maintains its corporate headquarters in New York,

where it directed the activities of designing, developing, advertising, selling, and distributing the

cosmetic products described herein to consumers throughout New York, either directly or

indirectly through third parties or related entities. Coty obtained the benefits of New York law and

profited from New York commerce. Similarly, Defendant Cover Girl Cosmetics (“Cover Girl”)

advertised, sold, and distributed the cosmetic products described herein to consumers throughout
New York, either directly or indirectly through third parties or related entities.



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                                             PARTIES

        4.       Plaintiff Deborah Brown resides in Scarsdale, New York, as she did at all relevant

times during the conduct alleged in this Complaint.

        5.       Defendant Coty, Inc. is a Delaware corporation with a principal place of business

in New York, New York. At all times relevant to this Complaint, Coty has transacted business in

this judicial district and throughout the United States, including in New York.

        6.       Defendant Cover Girl Cosmetics is a wholly-owned subsidiary of Coty with a

principal place of business in Maryland. At all times relevant to this Complaint, Defendants have

transacted business in this judicial district and throughout the United States, including in New

York.

                                  STATEMENT OF THE CASE

        7.       Defendant Coty, one of the largest cosmetics companies in the world, intentionally

fails to disclose to consumers that its popular waterproof mascara products, sold under Defendant

Cover Girl’s brand name, contain Per and Polyfluoroalkyl Substances, or “PFAS,” despite the fact

that Defendants knew or should have known that this information is material to consumers.

        8.       Instead, Defendants represented that the CoverGirl waterproof mascaras were safe,

effective, high quality, and appropriate for use on consumers’ eyelashes.

        9.       However, what Defendants did not tell consumers is that PFAS, which can have

adverse effects on humans and can bioaccumulate in human’s bodies, are present in detectable

amounts in its waterproof mascaras. Even very low levels of PFAS can be toxic to humans.

        10.      This is true even where PFAS are not ingested but rather are applied to skin because

PFAS can be absorbed through the skin. This risk is particularly high where the PFAS are applied

near the eyes, as is the case with mascara products.

        11.      From at least 2018 through the present, Defendants’ CoverGirl waterproof mascara

was misleadingly and fraudulently advertised because it failed to disclose the presence of PFAS

in Defendants’ CoverGirl waterproof mascara products. This failure to warn injured reasonable
consumers, including Plaintiff, who reasonably relied upon Defendants’ misleading packaging and



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ingredient list that did not disclose that the waterproof mascara products contained harmful PFAS.

Had Plaintiff and the putative Class known that Defendants’ CoverGirl waterproof mascara

products contained PFAS, they would not have purchased the products and/or would have paid

less for them.

I.         THE COSMETICS INDUSTRY

           A.       Cosmetics are a Multi-Billion Dollar Industry that is Largely Unregulated

           12.      Personal care products are a multi-billion-dollar industry in the United States. In

2019 alone, the retail value of personal care products was estimated to be greater than $100 billion

in North America, approximately $20 billion of which came from cosmetic products.

           13.      In the United States, women spend, on average, $313 per month on beauty products,

including cosmetics, and that number is only growing.1 The most popular products are eye

products, particularly mascaras, and lip products.

           14.      The cosmetics industry is dominated by large, multinational companies with

significant brand recognition and correspondingly significant sales, including L’Oreal USA, Inc.

(which owns both L’Oreal and Maybelline branded products), Defendant Coty (which owns the

CoverGirl brand), and Revlon.2

           15.      A recent study from 2021 found that U.S. consumers were both most aware of, and

had actually purchased products within the last year from, the CoverGirl, Maybelline, L’Oreal and
Revlon brands.3

           16.      The use and labeling of cosmetic products ingredients in the United States is

regulated by the Federal Food, Drug, and Cosmetics Act of 1938 and the Fair Packaging and

Labeling Act of 1967. Cosmetic products are those that are “intended to be rubbed, poured,

sprinkled, sprayed on, introduced into, or otherwise applied to the human body . . . for cleansing,




1
    https://www.byrdie.com/average-cost-of-beauty-maintenance
2
    https://www.statista.com/topics/1008/cosmetics-industry/
3
    Id.



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beautifying, promoting attractiveness, or altering the appearance.” FD&C Act, sec. 201(i).

           17.      However, with the exception of some color additives, the FDA does not require

cosmetic ingredients or cosmetics products to have FDA approval prior to entering the market, and

federal regulations also do not regulate the type or kind of testing that is needed to determine the

safety of cosmetic ingredients or products.4

           18.      The only oversight that exists is entirely voluntary on the part of cosmetics

companies. The Voluntary Cosmetic Reporting Program is a “voluntary registration system for

cosmetic products” where companies can register the brand name and ingredients of their products.

           19.      The identification of cosmetic product ingredients in the United States generally

follow conventions set forth by the International Nomenclature of Cosmetic Ingredients (ICNI),

which established standards for naming cosmetic ingredients. The ICNI list is maintained by the

Personal Care Products Council, an industry trade group comprised of over 600 member

companies.

           20.      The Personal Care Products Council also funds the Cosmetic Ingredient Review,

which purportedly assesses the safety of cosmetic ingredients. But, again, participation is entirely

voluntary, meaning that, in general, the cosmetics industry is subject to essentially no oversight

and consumers are left to simply trust the manufacturers of cosmetics products that the products

are safe for use.

           B.       Consumers Value Safe and Healthy Cosmetic Products

           21.      The global market for natural cosmetics and personal care products has increased

substantially over the past three years, increasing from almost 34.5 billion dollars in 2018 to

roughly 54.5 billion dollars expected in the year 2027.5

           22.      This growth has been driven by increased consumer demand for natural ingredients




4
    https://www.fda.gov/cosmetics/voluntary-cosmetic-registration-program
5
    https://www.statista.com/statistics/673641/global-market-value-for-natural-cosmetics/



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and “green” products in general.6 One study found that approximately 70% of U.S. consumers

ages 18-29 would prefer to use natural or organic cosmetics.7

           23.       The growth has also been driven by legitimate concerns that consumers have about

the contents of the products they use on their skin and body. For example, consumers have pursued

high-profile lawsuits like the one against Johnson & Johnson related to its baby powder causing

ovarian cancer (see, e.g., Ingham v. Johnson & Johnson, 608 S.W.3d 663, 724 (Mo. Ct. App.

2020), reh'g and/or transfer denied (July 28, 2020), transfer denied (Nov. 3, 2020), cert. denied,

No. 20-1223, 2021 WL 2194948 (U.S. June 1, 2021)) or the class action case against Wen hair

care company alleging that its products made people’s hair fall out (see, e.g., Collazo v. Wen by

Chaz Dean, Inc., No. 215CV01974ODWAGR, 2015 WL 4398559, at *1 (C.D. Cal. July 17,

2015)). These types of high-profile lawsuits have made consumers afraid of chemicals and more

interested in products that are “natural” and “safe.”8

           24.       In response, many companies are replacing synthetic chemicals with natural

ingredients.

           25.       For example, popular beauty retailer Sephora has created an internal “seal of

approval” to designate “clean” beauty brands. As of July 2021, one of Sephora’s requirements for

that designation is that the product does not contain PFAS.9 Sephora’s website lists 374 cosmetics

products, including mascara and lip products, that have attained its “clean” designation.10

           26.       Ulta Beauty, another large cosmetics retailer, also maintains a “clean ingredients”

list of cosmetics made without certain harmful ingredients, including PFAS.11

           27.       Similarly, this increased demand has spurred the expansion of retailers dedicated



6
    https://www.futuremarketinsights.com/reports/organic-cosmetics-market
7
    https://disturbmenot.co/beauty-industry-statistics/
8
    https://www.vox.com/the-goods/2018/9/18/17866150/natural-clean-beauty-products-feinstein-cosmetics-bill-fda
9
    https://www.sephora.com/beauty/clean-beauty-products
10
     https://www.sephora.com/shop/clean-makeup
11
     https://www.ulta.com/conscious-beauty/clean-ingredients/



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to “clean” beauty, including Credo, which launched in 2015 and currently has ten brick and mortar

retail locations in the U.S. and sells 418 separate cosmetics products on its website, all of which it

contends are free of any of the 2,700 ingredients on its “Dirty List,” including PFAS.12

           28.      Even retailers like Target and CVS have dedicated additional shelf-space to natural

beauty offerings.13

           29.      Retailer willingness to incorporate and promote “clean” beauty products is due in

part to consumers’ willingness to pay more for these products that they perceive as a safer and

healthier alternative to traditional brands. For example, a popular brand called Benefit, which is

not “clean,” sells a highly-rated foundation for $30, whereas Tarte, another popular brand, sells a

highly-rated “clean” foundation for $39.14

II.        PFAS ARE TOXIC AND POSE SUBSTANTIAL HEALTH RISKS TO HUMANS
           AND THE ENVIRONMENT

           30.      PFAS are human-made, synthetic chemicals that do not exist naturally in the

environment. They have been used for decades in industrial processes and to produce consumer,

household, and commercial products.

           31.      Consumer products manufactured with PFAS were often promoted as being

resistant to heat and stains, long-lasting, and capable of repelling water, oil, and grease. Companies

have utilized PFAS to make, among other things, carpets, clothing, fabrics for furniture, paper

packaging for food, and other materials such as cookware that are resistant to water, grease, or

stains.

           32.      Although there are thousands of unique PFAS in existence, the details of many of

these compounds are proprietary and known only to manufacturers and industrial users. But, what

all PFAS share is that they contain multiple carbon-fluorine bonds, considered one of the strongest

in chemistry, making them highly persistent in the environment and in human and animal bodies.


12
     https://cdn.shopify.com/s/files/1/0637/6147/files/The_Dirty_List_PDF_August_Update.pdf?v=1598294504
13
     https://www.vox.com/the-goods/2018/9/18/17866150/natural-clean-beauty-products-feinstein-cosmetics-bill-fda
14
     https://www.huffpost.com/entry/why-clean-beauty-is-more-expensive_l_5fdb7307c5b6f24ae35e39d8



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In addition, the shared, characteristic chemistry common to all PFAS confers on each of these

compounds hydrophobic and oleophobic properties, making PFAS effective surface protectors.

        33.      PFAS are extremely soluble in water, which has led to their discovery in

groundwater, rivers, and the ocean, as well as drinking water resources, fish, and marine mammals.

        34.      PFAS can be categorized as either “long-chain” or “short-chain” based on the

number of carbon atoms they contain. Long-chain PFAS contain 7 or more carbon atoms, while

PFAS containing fewer than 7 carbon atoms are considered short-chain.

        35.      Long-chain PFAS, such as perfluorooctanoic acid (PFOA) and perfluorooctane

sulfonate (PFOS), have been widely detected in environmental samples, wildlife, and humans

across the globe. Long-chain PFAS bioaccumulate and bio-magnify in both humans and in

wildlife.

        36.      In the Stockholm Convention on Persistent Organic Pollutants, PFOS is listed in

Annex B. Annex B consists of persistent organic pollutants whose production, use, import, and

export the Convention aims to restrict.

        37.      The European Union specifically regulates products containing PFAS, restricting

the manufacture or import of products containing more than 25 parts per billion (ppb) of PFOA.

        38.      In October 2021, the US government announced its “PFAS Strategic Roadmap,”

which is an interagency plan to combat the continued use and release of PFAS. As part of the

Strategic Roadmap, the Environmental Protection Agency (EPA) committed to designating PFOA

and PFOS as “hazardous substances” under the Comprehensive Environmental Response,

Compensation, and Liability Act (CERCLA); finalizing a PFAS reporting rule under the Toxic

Substances Control Act (TSCA) section 8(e); and publishing toxicity assessments for 7 widely

used PFAS, including the short-chain compound GenX, PFBA, PFHxA, PFHxS, PFNA, and

PFDA.

        39.      Following announcement of the Strategic Roadmap, a majority of the EPA’s

Science Advisory Board (SAB) agreed with the EPA that PFOA is a “likely carcinogen,” with
some members supporting a designation of “carcinogen.” For PFOS, the SAB indicated that the



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evidence supports a label of “likely carcinogen.”

           40.      Short-chain PFAS unfortunately pose health and safety risks that are similar to their

long-chain counterparts.

           41.      Short-chain PFAS consist of multiple carbon-fluorine bonds, which, like long-

chain PFAS, makes them highly persistent in the environment. They also bioaccumulate in human

and animal bodies.

           42.      A 2019 study conducted by the U.S. Department of Health and Human Services’

National Toxicology Program found that short-chain PFAS have the same adverse effects as long-

chain compounds. This study determined that both long and short-chain PFAS compounds affect

the same organ systems, with the greatest impact observed in the liver and thyroid hormone.15

           43.      Humans may be exposed to PFAS through a variety of pathways, including

ingestion, inhalation, and skin absorption. Studies dating back at least a decade have indicated that

PFAS can be absorbed through skin, with evidence showing that PFAS in the blood increase after

application to skin.

           44.      Many PFAS, both long and short chain, are toxic to humans at extremely low levels.

Exposure to certain PFAS is associated in the medical and scientific literature with harmful and

serious health effects in humans and animals, including but not limited to: (a) altered growth;

(b) impacts to learning and behavior of infants and older children; (c) lowering a woman’s chance

of getting pregnant; (d) interference with the body’s natural hormones; (e) increased cholesterol

levels; (f) modulation of the immune system; (g) testicular and kidney cancers; (h) thyroid disease;

(i) high uric acid levels; (j) elevated liver enzymes; (k) ulcerative colitis; and (l) pregnancy-

induced hypertension.

           45.      The International Agency for Research on Cancer (IARC) has classified PFOA as

possibly carcinogenic to humans.16



15
     https://ntp.niehs.nih.gov/whatwestudy/topics/pfas/index.html
16
     https://monographs.iarc.who.int/wp-content/uploads/2018/06/mono110-01.pdf?source=post_page



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           46.      There is also evidence in the scientific literature that PFAS exposure is positively

correlated with certain metabolic diseases, such as diabetes, overweight, obesity, and heart disease.

           47.      The Center for Disease Control’s Agency for Toxic Substances and Disease

Registry has recognized that exposure to PFAS may impact the immune system and reduce

antibody response to vaccines. This is especially significant given the current public health risks

posed by COVID-19 and efforts to protect against the virus with vaccines.

           48.      PFAS is capable of crossing the placenta, meaning pregnant women transfer PFAS

to their unborn children. Women exposed to PFAS during pregnancy have higher risks of

gestational diabetes and pre-eclampsia, and their babies are more likely to undergo abnormal

growth in utero, leading to low birth weight, and later face an increased risk of childhood obesity

and infections.

           49.      Researchers have begun to find significant increases of certain short-chain PFAS

in the blood of sample populations, raising concerns that short-chain PFAS are assuming the body

burden once exclusively occupied by long-chain compounds.

           50.      Consumers are rightfully concerned about the presence or risk of PFAS in various

products.

           51.      However, PFAS are essentially unregulated at the federal level. For example, the

Safe Drinking Water Act (SDWA) protects public water supplies across the U.S. and is enforced

by the Environmental Protection Agency (EPA). Under this law, the EPA has not (although it

could) formally created a Maximum Contaminant Level for PFAS in the water supply. Rather, the

EPA has issued a health advisory for PFOA and PFOS that serve as “informal technical guidance”

to assist government officials and water system managers in sampling and treating PFOA and

PFOS in drinking water.17

           52.      Over the past decade, several states have enacted maximum contaminant levels

regulating certain PFAS, including PFOA and PFOS, in drinking water.



17
     https://www.epa.gov/pfas/pfas-laws-and-regulations



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           53.      The State of New York was one of the first to recognize that PFAS were harmful

to humans and should be regulated. In 2016, it took steps to regulate when and how PFAS could

knowingly be released into the environment, for example for firefighting purposes. 18 Then, in

2020, New York enacted a law prohibiting the sale of food packaging containing PFAS, effective

Dec. 31, 2022.19

           54.      In October 2020, California passed a law titled the Toxic Free Cosmetics Act,

Assembly Bill 2762, that, starting January 1, 2025, will prohibit the manufacturing or selling of

any cosmetic product with any intentionally added amount of 24 specified chemicals, including

PFAS.

           55.      In March 2021, California’s Office of Environmental Health Hazard Assessment

(OEHHA) released a Notice of Intent to list PFOA as a carcinogen under Proposition 65. In

December 2021, the OEHHA approved the listing of PFOS as a carcinogen under Proposition 65.

           56.      California recently passed legislation banning the use of PFAS in paper-based food

packaging as well as the disclosure of the presence of PFAS in cookware. 20 This bill, Assembly

Bill 1200, builds off similar food-packaging legislation passed in 2020 in New York.21

           57.      Similarly, in July of 2021, the State of Connecticut signed a bill into law banning

the use of firefighting foam and food packaging that contains PFAS.22 An even broader law was

passed in Maine in July 2021 that bans PFAS in nearly all products, stating as of Jan. 1, 2030, “a

person may not sell, offer for sale or distribute for sale” in Maine products where PFAS has been




18
     https://www.dec.ny.gov/chemical/108831.html
19
 https://www.natlawreview.com/article/new-york-bans-pfas-food-
packaging#:~:text=New%20York%20State%20Governor%20Andrew,%2C%20effective%20December%2031%2C
%202022
20
     https://www.nrdc.org/experts/avinash-kar/ca-bill-reduce-toxic-pfas-exposures-passed-legislature
21
     Id.
22
 https://portal.ct.gov/Office-of-the-Governor/News/Press-Releases/2021/07-2021/Governor-Lamont-Signs-
Legislation-Banning-Use-Of-PFAS



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“intentionally added” except in cases of “unavoidable use.”23 Similar legislation has also been

passed in Vermont and Washington.24

            58.     In 2018, 3M reached an $850 million settlement with the State of Minnesota

brought by the Attorney General alleging that 3M’s production of PFAS damaged the drinking

water and resources throughout the Minneapolis/St. Paul area, including within residential areas.25

            59.     A similar personal injury case was filed on behalf of citizens of West Virginia

against DuPont related to discharges of PFAS from a manufacturing site into local water sources.

That case settled in 2017 for $671 million.26

            60.     As the risks associated with PFAS become more widely known, it is likely that

consumer awareness will continue to grow. It is reasonable for consumers to be concerned about

these chemicals, which carry significant health risks and are often undisclosed by manufacturers.

III.        THE USE OF PFAS IN COSMETIC PRODUCTS

            61.     PFAS have long been used in a variety of cosmetic products that come into contact

with the skin, including lotions, cleansers, nail polish, shaving cream, foundation, lipstick,

eyeliner, eyeshadow, and mascara.

            62.     PFAS are used in cosmetic products as emulsifiers, antistatics, stabilizers,

surfactants, film formers, viscosity regulators, and solvents. PFAS may be added to products to

make them more water-resistant, durable, and spreadable.

            63.     Certain commonly used PFAS may be identified on a cosmetic product’s label or

on its ingredient list.

            64.     The most common PFAS identified and/or disclosed as ingredients in cosmetic

products are polytetrafluoroethylene (PTFE), perfluorooctyl triethoxysilane, perfluorononyl


23
     https://www.reuters.com/legal/litigation/maine-outlaws-pfas-products-with-pioneering-law-2021-07-16/

24
     https://www.natlawreview.com/article/connecticut-and-vermont-ban-pfas-food-packaging
25
     https://3msettlement.state.mn.us/
26
    https://www.reuters.com/article/us-du-pont-lawsuit-west-virginia/dupont-settles-lawsuits-over-leak-of-chemical-
used-to-make-teflon-idUSKBN15S18U



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dimethicone, perfluorodecalin, and perfluorohexane.

           65.     PTFE is known by its brand name, Teflon. According to a 2018 market analysis,

Teflon was disclosed as an ingredient in 66 different cosmetic products from 15 brands. Teflon

was the most common PFAS compound identified in a product’s ingredient list.27

           66.     This 2018 market analysis identified 13 different PFAS compounds in nearly 200

products from 28 brands.28 These compounds were intentionally added ingredients disclosed in

each product’s ingredient list. That said, a reasonable consumer would be unlikely to identify most

of the compounds as part of the PFAS family simply by looking at the name of the ingredient.

           67.     Even where PFAS are identified in a product’s ingredient list, the quantity of the

PFAS contained in the product is not disclosed.

           68.     Because there are no formal federal regulations governing what cosmetic labels

must disclose, many cosmetic products that contain PFAS do not disclose this on the product label

or on the ingredient list.

           69.     The 2018 market analysis reviewed only PFAS ingredients that were disclosed in

an ingredient list or product label. Disclosed PFAS ingredients, however, make up only a fraction

of the PFAS contained in cosmetic products.

           70.     PFAS occurs in cosmetic products both as an intended ingredient and as

degradation products and impurities from the production of certain PFAS precursors used in

certain products.

           71.     Prior to 2021, no scientific research had been published analyzing whether PFAS

were present in cosmetic products where the label did not disclose the presence of any such

compounds.



27
     https://www.ewg.org/skindeep/contents/is-teflon-in-your-cosmetics/#.Wqk_bb3wajT
28
   PFAS compounds identified by the analysis included: (i) PTFE, (ii) perfluorononyl dimethicone, (iii)
perfluorodecalin, (iv) C9-15 fluoroalcohol phosphate, (v) octafluoropentyl methacrylate, (vi) perfluorohexane, (vii)
pentafluoropropane,      (viii)    polyperfluoroethoxymethoxy        difluoroethyl      peg     phosphate,      (ix)
polyperfluoroethoxymethoxy peg-2 phosphate, (x) methyl perfluorobutyl ether, (xi) perfluorononylethyl carboxydecyl
peg-10 dimethicone, (xii) perfluorodimethylcyclohexane, and (xiii) perfluoroperhydrophenanthrene.



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           72.      In June 2021, researchers at Notre Dame published a peer-reviewed analysis of 231

cosmetic products using particle-induced gamma ray emission (PIGE) to screen for total fluorine.

Researchers analyzed lip products, eye products, foundations, face products, mascaras, concealers,

and eyebrow products purchased from retailers such as Ulta Beauty, Sephora, Target, and Bed

Bath & Beyond.29

           73.      Because all PFAS are comprised of carbon-fluorine bonds, analyzing a product for

total fluorine is a method to investigate whether PFAS are present.

           74.      Foundations produced the highest median total fluorine concentration, while

mascaras produced the largest range of total fluorine measurements. Several mascaras gave the

highest fluorine concentrations measured. The three product categories with the highest proportion

of fluorine concentrations were foundations, mascaras, and lip products.

           75.      Researchers found high fluorine levels in products commonly advertised as “wear-

resistant” to water and oils or “long-lasting,” including foundations, liquid lipsticks, and

waterproof mascaras. Industrial and consumer products containing PFAS are often described as

water or stain-resistant.

           76.      Researchers performed a further analysis of 29 foundations, mascaras, and lip

products using liquid chromatography-tandem mass spectrometry and gas chromatographic mass

spectrometry.

           77.      This further analysis revealed that short-chain PFAS were most commonly detected

in these products.

           78.      However, researchers also found that the 29 products also contained long-chain

PFAS.

           79.      Only 8% of the 231 cosmetics screened for total fluorine listed any PFAS as an

ingredient and only 3% of the 29 products in the second round of testing listed any PFAS as an

ingredient. Long and short-chain PFAS were detected in all 29 products analyzed in the second



29
     https://pubs.acs.org/doi/10.1021/acs.estlett.1c00240



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round of testing, meaning that very few disclosed that PFAS were present in the product.

           80.      Some cosmetic product ingredients, such as mica, talc, silica, Nylon-12, and color

additives, are treated with PFAS to provide hydrophobic properties.

           81.      The use of PFAS in cosmetic products is likely to cause unwanted or unforeseen

human exposures. Consumers may inadvertently ingest PFAS from liquid lip products or absorb

PFAS from mascara through their tear ducts. PFAS may be absorbed through the skin from

foundations or other products that require dermal applications.

           82.      In addition, PFAS in cosmetic products contributes to PFAS entering wastewater

streams and cause ecosystem exposures when those products are discarded in landfills.

           83.      Because many PFAS are not disclosed on product labels or in a product’s ingredient

list, consumers are likely unaware of their personal exposure, as well as their contribution to

ecosystem exposures.

           84.      Following publication of the June 2021 research, the federal government moved to

curtail the widespread inclusion of PFAS in cosmetic products.

           85.      In June 2021, bipartisan legislation was introduced in the U.S. Senate by Senator

Susan Collins (R-ME) and Senator Richard Blumenthal (D-CT) that would ban PFAS in cosmetic

products, including makeup, moisturizer, and perfume. That proposed legislation would direct the

FDA to issue a proposed rule banning the intentional addition of PFAS in cosmetics within 270

days of the law’s enactment and require a final rule to be issued 90 days thereafter. 30 Similar

legislation was introduced in the House of Representatives as well by Representatives Debbie

Dingell (D-MI), Brian Fitzpatrick (R-PA), Annie Kuster (D-NH), and John Katko (R-NY).31

           86.      Members of the scientific community support this proposed legislation. Arelene

Blum, PhD, who is the executive director of the Green Science Policy Institute and a co-author of

the Notre Dame study, stated, “PFAS chemicals are not necessary for makeup. Given their large



30
     https://www.collins.senate.gov/newsroom/collins-blumenthal-introduce-bill-ban-pfas-chemicals-cosmetics
31
     https://debbiedingell.house.gov/news/documentsingle.aspx?DocumentID=3097



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potential for harm, I believe they should not be used in any personal care products.” And Scott

Faber, the Senior Vice President of Government Affairs for the Environmental Working Group

stated, “Toxic forever chemicals have no place in personal care products.”32

IV.        INDEPENDENT LAB TESTING CONFIRMS PRESENCE OF PFAS IN CERTAIN
           COVERGIRL COSMETIC PRODUCTS

           87.      After reviewing the study conducted by Notre Dame researchers, Plaintiff sought

independent third-party testing to determine whether certain CoverGirl-branded cosmetic products

contained PFAS.

           88.      To perform this testing, Plaintiff sought out an independent laboratory that utilized

industry standard techniques to detect PFAS constituents in cosmetic products.

           89.      Plaintiff’s independent testing from a third-party lab determined that PFAS,

including certain long-chain PFAS like PFOA, were present within several popular CoverGirl

waterproof mascara products, including CoverGirl Lash Blast Volume Waterproof Mascara and

CoverGirl Clump Crusher Waterproof Mascara (collectively, the “Waterproof Mascara

Products”).

           90.      The presence of PFAS in a cosmetic product that is applied to the eye is material to

Plaintiff, customers, and members of the putative class.

           91.      As set forth below, neither of the Waterproof Mascara Products identified herein

disclose to the consumer that they contain PFAS as detected in Plaintiff’s testing.
V.         DEFENDANTS’ MISLEADING ADVERTISING OF THE WATERPROOF
           MASCARA PRODUCTS

           92.      Defendant Coty is one of the largest cosmetics companies in the world, generating

over $5 billion in revenue in 2021 alone. Coty owns over 15 different mass beauty and prestige

beauty brands, including CoverGirl, and employs over 11,430 full-time employees across the

globe, including in New York.33



32
     https://www.collins.senate.gov/newsroom/collins-blumenthal-introduce-bill-ban-pfas-chemicals-cosmetics
33
     https://s23.q4cdn.com/980953510/files/doc_financials/2021/ar/COTY-Annual-Report-2021_Final.pdf



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            93.     Coty claims that its “products have an important role to play in building a

sustainable future. To respond to evolving social and environmental challenges, we intend to keep

sustainability at the heart of product innovation.”34

            94.     To this end, Coty publishes a Sustainability Report, which underscores its

environmentally-conscious promises, including that

            from the sourcing of raw materials to manufacturing . . . our products have an
            environmental impact. . . . Our ambition is to put sustainability at the heart of
            innovation. . . . We want to change the way we design, formulate and manufacture,
            in order to minimize our environmental impacts and create more innovative, cleaner
            products.35

            95.     Coty’s Sustainability Report further represents: “Human safety assessments are

integral to our product development process, ensuring all products are safe for their intended

use.”36

            96.     In addition to Coty’s representations, CoverGirl also touts its sustainability efforts

and the healthy aspects of its products, including its mascara products.

            97.     A recent press release by CoverGirl and Coty identified the CoverGirl brand as “the

original founder and creator of clean makeup and 60 years later continues to define what it means

to be a responsible beauty brand.”37

            98.     Stefano Curti, Coty’s Chief Brands Officer in 2021, further stated, “COVERGIRL

continues to make good-for-you makeup and skincare, prioritizing the health of our consumers
and the planet.”38

            99.     Defendants represent not only that they prioritize the safety and sustainability of its




34
     https://www.coty.com/sustainability/beauty-of-our-product
35
     https://www.coty.com/sites/default/files/coty_sustainability_report_fy20.pdf#page=1
36
     Id. at 31
37
         https://www.businesswire.com/news/home/20210623005614/en/Coty%E2%80%99s-COVERGIRL-Takes-
Largest-Sustainability-Step-To-Date-%E2%80%93-A-Reduction-of-35-of-Plastic-in-Pressed-Powder-Packaging-
Globally
38
     Id.



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products, including the Waterproof Mascara Products, but that they are an industry leader in this

effort: “As a brand, COVERGIRL continues to identify areas where we can reduce our

environmental impact, continuing to lead the way as the original clean brand which our consumers

are proud to stand behind.”39

           100.    Furthermore, Coty touts that “[i]nnovation is a pillar of our business,” and claims

that it “continuously seek[s] to improve our products through research and development.”40 Coty

maintains its principal research and development facility in Morris Plains, New Jersey.41

           101.    CoverGirl offers at least ten different “waterproof” mascara products. 42 Of these

products, Plaintiff’s testing has thus far determined that the Waterproof Mascara Products contain

undisclosed PFAS.

           102.    Upon information and belief, discovery is likely to reveal that additional

Waterproof Mascara Products contain PFAS that is not disclosed on the product label or

packaging.

           103.    Defendants formulated, developed, manufactured, labeled, distributed, marketed,

advertised, and sold the Waterproof Mascara Products throughout the United States, including in

this District, during the Class Period.

           104.    The packaging, labeling, and ingredient lists of the Waterproof Mascara Products

that Plaintiff and the Class relied upon when making their purchases of the Waterproof Mascara

Products were prepared, reviewed, and/or approved by Defendants and their agents, and were

disseminated by Defendants and their agents through the packaging, labeling, and ingredient lists

that contained the misrepresentations and omissions alleged herein.

           105.    Defendants intended for consumers, such as Plaintiff, to rely on the statements and

omissions on the packaging, labeling, and ingredient lists of the Waterproof Mascara Products


39
     Id.
40
     https://s23.q4cdn.com/980953510/files/doc_financials/2021/ar/COTY-Annual-Report-2021_Final.pdf
41
     Id. at 26.
42
     Covergirl.com/en_us/eye-makeup/waterproof-mascara/



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when deciding to purchase them. As a result of Defendants’ misrepresentations and omissions,

reasonable consumers, including Plaintiff and the Class, were misled into purchasing the

Waterproof Mascara Products when, if they had known the truth about the presence of PFAS, they

would not have purchased them at all or would have paid less for those products.

       106.    Defendants own, manufacture, and distribute the Waterproof Mascara Products and

created, allowed, negligently oversaw, and/or authorized the unlawful, fraudulent, unfair,

misleading, and/or deceptive packaging, labeling, and ingredient lists of the Waterproof Mascara

Products.

       107.    Defendants are responsible for selecting and sourcing the ingredients used in the

Waterproof Mascara Products and for conducting all relevant quality assurance protocols,

including testing, for the Waterproof Mascara Products. Therefore, Defendants knew, or should

have known, that failing to disclose the presence of detectable levels of PFAS was a material

omission and that it was concealing the true quality, nature, and safety of the Waterproof Mascara

Products.

       108.    Neither of the Waterproof Mascara Products disclose on the packaging, labeling,

or ingredient list that the mascara contains detectable levels of PFAS, including PFOA, PFHxA,

PFDoS, and NEtFOSE, among others.

VI.    PLAINTIFF’S USE OF COVERGIRL WATERPROOF MASCARA PRODUCTS

       109.    Plaintiff Deborah Brown has been purchasing CoverGirl mascaras since she was a

teenager. Ms. Brown purchased one or more tubes of CoverGirl Lash Blast Volume Waterproof

Mascara within the past three years.

       110.    Plaintiff specifically purchased the Waterproof Mascara Product because of its

waterproof quality, as she kept smudging mascara in her eyes with non-waterproof products.

       111.    Plaintiff’s eyes are sensitive, and she purchased the Waterproof Mascara Product

with that sensitivity in mind.

       112.    As a result of Defendants’ misrepresentations and omissions, Plaintiff Brown
purchased the Waterproof Mascara Products because she reasonably believed they were safe for



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use around, adjacent to, and near her eyes.

       113.    Plaintiff followed the instructions and applied the Waterproof Mascara Product

around her eyes.

       114.    Prior to purchase, Plaintiff saw and relied upon Defendants’ packaging and the

ingredient lists for the Waterproof Mascara Products when making her decision to purchase one

of the Waterproof Mascara Products.

       115.    Plaintiff, like other reasonable consumers, reasonably relied on Defendants’

packaging, labeling, ingredient list, and disclosures when deciding to purchase one of the

Waterproof Mascara Products.

       116.    Plaintiff was unaware that the Waterproof Mascara Products contained detectable

levels of PFAS.

       117.    Plaintiff would not have purchased the Waterproof Mascara Products, or would

have paid less for them, had she known that they contained and/or had a material risk of containing

dangerous PFAS. In fact, Plaintiff has stopped using the Waterproof Mascara Products since

learning they contain PFAS.

       118.    The Waterproof Mascara Products were misleadingly advertised. As a result of

Defendants’ negligent, reckless, and/or knowingly deceptive conduct, Plaintiff was injured by

purchasing, at a premium price, the Waterproof Mascara Products that were not of the quality and

safety promised and that Plaintiff would not have purchased if she had not been misled by

Defendants.

       119.    If Plaintiff or the members of the putative Class were to encounter the Waterproof

Mascara Products in the future, they could not reasonably rely on the truthfulness of the packaging

unless Defendants’ packaging and labeling corrected the misleading packaging omission.

VII.   DEFENDANTS’            PACKAGING         CLAIMS        MISLED        AND      DECEIVED
       CONSUMERS

       120.    Defendants’ packaging claims the Waterproof Mascara Products are safe for use on
or near the eyes and do not contain harmful carcinogenic PFAS compounds. These




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misrepresentations and omissions are misleading to consumers because the Waterproof Mascara

Products do in fact contain and/or have a material risk of containing PFAS.

       121.    Reasonable consumers, including Plaintiff and the Class, paid Defendants a price

premium for the Waterproof Mascara Products because the consumers relied on the accuracy of

the disclosures and statements on Defendants’ packaging, labels, and ingredient list.

       122.    Reasonable consumers, including Plaintiff and the Class, considered the above

packaging claims to be material to their decision to purchase the Waterproof Mascara Products.

       123.    Defendants knew or should have known, yet failed to disclose, that the Waterproof

Mascara Products contained and/or had a material risk of containing PFAS, and thus did not

conform to the packaging claims.

       124.    Defendants also knew or should have known that the presence or material risk of

PFAS were a material consideration to consumers like Plaintiff and the Class when they purchased

the Waterproof Mascara Products.

       125.    A reasonable consumer would not have paid the price premium for the Products if

they had known that the Waterproof Mascara Products contained or had a material risk of

containing PFAS.

       126.    In fact, reasonable consumers, including Plaintiff and the Class, would have refused

to purchase the Waterproof Mascara Products entirely if they had known that the Products

contained or had a material risk of containing PFAS.

       127.    As a result of Defendants’ misleading packaging claims and omissions, consumers

like Plaintiff and the Class suffered substantial financial losses by paying premium prices for the

Waterproof Mascara Products that did not conform to their packaging claims. Not only that, but

Plaintiff and Class Members have incurred costs to prematurely replace the product and costs to

discontinue use of the product before its expiration.

VIII. CONSUMER RELIANCE WAS REASONABLE AND FORESEEABLE

       128.    Plaintiff and the Class reasonably relied upon Defendants’ misleading packaging




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claims and omissions when making their decision to purchase the Waterproof Mascara Products.

        129.   Any reasonable consumer would consider the packaging and labeling of a

cosmetics product. At the time of purchase, Plaintiff and the Class had no opportunity to discover

the truth about Defendants’ omission of the presence or risk of PFAS in the Waterproof Mascara

Products.

        130.   Consumers reasonably relied upon Defendants’ misleading packaging claims as

objective statements that communicated, represented, and advertised that the Waterproof Mascara

Products had specific product characteristics.

        131.   Defendants knew, or should have known, that Plaintiff and the Class would rely on

their misleading packaging claims. Defendants designed and had control over the Waterproof

Mascara Products’ packaging, including omitting information about the presence or risk of PFAS,

in order to target and induce consumers, like Plaintiff and the Class, to purchase the Product at the

advertised price.

        132.   Plaintiff and the Class are intended third-party beneficiaries of any implied

warranty between Defendants and retailers. Retailers were not intended to be the ultimate

consumers of the Waterproof Mascara Products as any implied warranty that exists was intended

to benefit consumers.

IX.     DEFENDANTS’ KNOWLEDGE OF THE MISREPRESENTATIONS AND
        OMISSIONS

        133.   Defendants had exclusive knowledge of the contents and formula of their

Waterproof Mascara Products, including whether they contained or were at a risk of containing

PFAS.

        134.   Defendants also had exclusive knowledge of their ingredient suppliers and could

have obtained information from their suppliers about the contents of the ingredients, including

whether they contained or were at risk of containing PFAS.

        135.   Consumers like Plaintiff and the Class were unable to determine or identify that
Defendants’ Waterproof Mascara Products contained or were at risk of containing PFAS given the




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Products’ mislabeling and failure to disclose the presence or risk of PFAS.

X.     DEFENDANTS ACTED NEGLIGENTLY AND/OR INTENTIONALLY TO
       MISLEAD CONSUMERS

       136.    Defendants acted negligently and/or intentionally to deceive consumers, including

Plaintiff and the Class, through their misleading Waterproof Mascara Product packaging that did

not disclose the presence or risk of PFAS in the Products.

       137.    Defendants did so despite knowing that the presence and/or material risk of PFAS

in the Waterproof Mascara Products, as well as knowing that PFAS could be eliminated from its

Products. Defendants knew that consumers like Plaintiff and the Class trusted and relied on

Defendants to ensure that the Waterproof Mascara Products conformed to their packaging claims

and did not contain undisclosed PFAS.

XI.    TOLLING OF STATUTES OF LIMITATIONS

       138.    Any applicable statute of limitations has been tolled by Defendants’ knowing and

active concealment of the presence or risk of PFAS in the Waterproof Mascara Products and the

misrepresentations and omissions alleged herein. Through no fault or lack of diligence, Plaintiff

and members of the Class were deceived regarding the Waterproof Mascara Products and could

not reasonably discover that they contained, or may contain, PFAS.

       139.    Plaintiff and members of the Class did not discover and did not know of any facts

that would have caused a reasonable person to expect that the Defendants was concealing the

presence or risk of PFAS in the Waterproof Mascara Products. As alleged herein, the presence or

risk of PFAS in the Waterproof Mascara Products was material to Plaintiff and members of the

Class at all relevant times. Within the time period of any applicable statute of limitations, Plaintiff

and members of the Class would not have discovered through the existence of reasonable diligence

that the Waterproof Mascara Products contain, or may contain, PFAS.

       140.    At all times, Defendants are and were under a continuous duty to disclose to

Plaintiff and the Class the true standard, quality, and grade of the Waterproof Mascara Products
and to disclose the presence or risk of PFAS due to their exclusive and superior knowledge of the




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contents and ingredient sourcing for the Waterproof Mascara Products.

       141.      Defendants knowingly, actively, and affirmatively concealed the facts alleged

herein. Plaintiff and members of the Class reasonably relied on Defendants’ knowing, active, and

affirmative concealment.

       142.      For these reasons, all applicable statutes of limitation have been tolled based on the

discovery rule and Defendants’ fraudulent concealment, and Defendants are estopped from relying

on any statues of limitations in defense of this action.

                                CLASS ACTION ALLEGATIONS

       143.      Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of herself and the classes. This action satisfies the requirements set

forth in Rule 23(a) and Rule 23(b)(3).

       144.      Plaintiff brings this action on behalf of the following class(es) (together referred to

as the “Class”):

                 Nationwide Class: All individuals in the United States who purchased the
                 Waterproof Mascara Products from 2018 to the present; and/or

                 New York Subclass: All individuals in the State of New York who
                 purchased the Waterproof Mascara Products from 2018 to the present.

       145.      Excluded from the Class are Defendants, their legal representatives, assigns and

successors, and any entity in which Defendants have a controlling interest. Also excluded is the

judge to whom this case is assigned and any member of the judge’s immediate family and judicial

staff. Claims for personal injury are specifically excluded from the Class.

       146.      This action is brought and may be properly maintained as a class action. There is a

well-defined community of interests in this litigation and the members of the Class are easily

ascertainable.

       147.      Numerosity (Rule 23(a)(1)): Although the actual size of the Class is uncertain,

Plaintiff is informed and believes that the Class is comprised of at least thousands of purchasers
of the Waterproof Mascara Products, making joinder impracticable. The disposition of the claims




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of the Class in a single action will provide substantial benefits to the parties and the Court.

       148.    Commonality (Rule 23(a)(2)): Questions of law and fact common to Plaintiff and

the Class include, but are not limited to, the following:

           a. Whether Defendants owed a duty of care to Plaintiff and the Class;

           b. Whether the Waterproof Mascara Products contained detectable levels of PFAS;

           c. Whether Defendants knew or should have known that the Waterproof Mascara
              Products contained detectable levels of PFAS not disclosed on the product label
              and/or packaging;

           d. Whether Defendants failed to test, or require its suppliers to test, the Waterproof
              Mascara Products and their ingredients for the presence of PFAS;

           e. Whether Defendants failed to disclose that the Waterproof Mascara Products
              contained PFAS;

           f. Whether Defendants wrongfully represented that the Waterproof Mascara Products
              were safe for use and did not include toxic PFAS substances;

           g. Whether reasonable consumers would consider that the Waterproof Mascara
              Products containing detectable levels of PFAS to be a material fact in purchasing
              the Waterproof Mascara Products;

           h. Whether Defendants continued to manufacture and sell the Waterproof Mascara
              Products despite knowing that they contain detectable levels of PFAS;

           i. Whether Defendants’ omission of the presence of PFAS in the Waterproof Mascara
              Products was likely to mislead, deceive, confuse, or confound consumers acting
              reasonably;

           j. Whether Defendants violated New York law;

           k. Whether Defendants engaged in deceptive acts and practices;

           l. Whether Defendants engaged in false advertising;

           m. Whether Defendants unjustly enriched itself at consumers’ expense;

           n. Whether Plaintiff and the Class are entitled to actual, statutory, and treble damages;
              and

           o. Whether Plaintiff and the Class are entitled to declaratory and injunctive relief.

       149.    Typicality (Rule 23(a)(3)): The claims of the representative Plaintiff are typical of




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the claims of members of the Class, in that the representative Plaintiff, like all members of the

Class, purchased the Waterproof Mascara Products from Defendants without knowing that it

contained detectable levels of PFAS and, if Plaintiff, like all members of the Class, had known

that information, she would not have purchased the products or would have paid less for them.

Thus, the representative Plaintiff, like all members of the Class, has suffered a common injury.

The factual basis of Defendants’ misconduct is common to all members of the Class.

       150.    Adequacy (Rule 23(a)(4)): Plaintiff will fairly and adequately represent and protect

the interests of the Class. Plaintiff has retained counsel with substantial experience in prosecuting

consumer class actions, including actions involving mislabeling and false advertising, product

liability, and violation of consumer protection statutes. Plaintiff and her counsel are committed to

vigorously prosecuting this action on behalf of the Class and have the financial resources to do so.

Neither Plaintiff nor her counsel have any interests adverse to those of the Class.

       151.    Predominance of Common Questions (Rule 23(b)(3)): Common questions of law

and fact predominate over any questions involving individualized analysis. There are no

fundamental questions of fact or law that are not common to members of the Class. The

undisclosed presence of PFAS in the Waterproof Cosmetics Products is a common question, as is

the Defendants’ knowledge regarding the presence of detectable levels of PFAS in its Waterproof

Mascara Products and Defendants’ unform omission to members of the Class of this material fact.

Common questions of law include whether Defendants’ conduct violates state consumer protection

statutes and other laws, and the Class members’ entitlement to damages and remedies.

       152.    Superiority (Rule 23(b)(3)): Plaintiff and members of the Class have suffered and

will continue to suffer harm and damages as a result of Defendants’ unlawful and wrongful

conduct. A class action is superior to other available methods for the fair and efficient adjudication

of the subject controversy. Most members of the Class likely would find the cost of litigating their

individual claims to be prohibitive and will have no adequate remedy at law. Thus, absent a class

action, members of the Class will continue to incur damages and Defendants’ misconduct will
proceed without remedy. Class treatment of common questions of fact and law is superior to



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multiple individual actions or piecemeal litigation because it will conserve the resources of the

courts and the litigants and promote consistency and efficiency of adjudication. There is no

impediment to the management of this action as a class action because the questions of fact and

law are virtually identical for Plaintiff and all Class members.

       153.    Injunctive Relief (Rule 23(b)(2)): Defendants have engaged in, and continue to

engage in, business practices which are unfair and fraudulent by, among other things, failing to

disclose the material fact that the Waterproof Mascara Products contain detectable levels of PFAS.

Plaintiff seeks class-wide injunctive relief on grounds consistent with the standards articulated in

Rule 23(b)(2) that establish final injunctive relief as an appropriate class-wide remedy, in that

Defendants continue to manufacture, market, and sell the Waterproof Mascara Products and omit

material facts. The injuries suffered by Plaintiff and the Class as a result of Defendants’ actions

are ongoing.

                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

          Violations of New York Consumer Law for Deceptive Acts and Practices
                                   N.Y. Gen. Bus. Law § 349
                      (On Behalf of Plaintiff and the Nationwide Class
                        or, in the Alternative, the New York Subclass)

       154.    Plaintiff incorporates by reference all preceding allegations contained in this

Complaint.

       155.    New York General Business Law (“NYGBL”) § 349 prohibits deceptive acts or

practices in the conduct of any business, trade, or commerce, or in the furnishing of any service in

the state of New York.

       156.    By reason of the conduct alleged herein, Defendants engaged in unlawful practices

within the meaning of the NYGBL § 349. The conduct alleged herein is a “business practice”

within the meaning of the NYGBL § 349, and the deception occurred and originated in part within

New York State.
       157.    Defendants’ Waterproof Mascara Products contain and/or have a material risk of



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containing PFAS—a fact Defendants omitted to disclose—and Defendants misrepresented that

their Products were safe for use on eyes. Defendants knew or should have known that their

Waterproof Mascara Products should not contain PFAS and that by manufacturing and providing

for commercial sale Waterproof Mascara Products containing and/or having a material risk of

containing PFAS, Plaintiff and Class members were not getting safe products to use on a sensitive

part of the face, the eye.

        158.    Plaintiff and Class members would not have purchased the Waterproof Mascara

Products at issue had they known the truth about the presence of PFAS. There is no other use for

Defendants’ tainted Waterproof Mascara Products.

        159.    Defendants violated the NYGBL § 349 by designing, manufacturing, and selling

Waterproof Mascara Products containing and/or having a material risk of containing PFAS and by

failing to properly represent, both by affirmative conduct and by omission, the actual contents of

its Waterproof Mascara Products.

        160.    If Defendants had not sold Waterproof Mascara Products containing and/or having

a material risk of containing PFAS, Plaintiff and Class members would not have suffered the extent

of damages caused by Defendants’ sales.

        161.    Defendants’ practices, acts, policies, and course of conduct violate NYGBL § 349

in that, among others things, Defendants actively and knowingly misrepresented or omitted

disclosure of material information to Plaintiff and Class members at the time they purchased the

Waterproof Mascara Products, including the fact that Defendants’ Products contained PFAS, and

that Defendants failed to disclose and give timely warnings or notices regarding the presence of

PFAS in their Products that were purchased by Plaintiff and Class members.

        162.    The conduct alleged herein constitutes an unconscionable business practice in that

Defendants have, by the use of false statements and/or material omissions, failed to properly

represent and/or concealed the presence of detectable levels of PFAS in its Waterproof Mascara

Products.
        163.    Members of the public, including Plaintiff and Class members, were deceived by



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and relied upon Defendants’ affirmative misrepresentations and failures to disclose.

       164.    Such acts and practices by Defendants are and were likely to mislead a reasonable

consumer purchasing Waterproof Mascara Products. Said acts and practices are material. The sales

of Defendants’ Waterproof Mascara Products in New York, through such means occurring in New

York, were consumer-oriented acts and thereby fall under the New York consumer protection

statute, NYGBL § 349.

       165.    To this day, Defendants continue to engage in unlawful practices in violation of the

NYGBL § 349. Defendants continue to conceal the defective and harmful nature of the Waterproof

Mascara Products and have failed to disclose, on inquiry from Plaintiff and Class Members, the

true nature of the Waterproof Mascara Products, including that they contain and/or has a material

risk of containing PFAS.

       166.    As a direct and proximate cause of Defendants’ conduct, Plaintiff and Class

members suffered actual damages as alleged above.

       167.    In addition to or in lieu of actual damages, because of the injury, Plaintiff and the

Class members seek statutory and treble damages for each injury and violation which has occurred.

       168.    Plaintiff also seeks injunctive relief for Defendants to refrain from the continued

advertising of Waterproof Mascara Products that omits material facts, including that the

Waterproof Mascara Products contain and/or have a material risk of containing PFAS. Plaintiff

further seeks injunctive relief forcing Defendants to replace all Waterproof Mascara Products for

Class Members with a non-toxic mascara.

                                SECOND CAUSE OF ACTION

          Violations of New York Consumer Law for Deceptive Acts and Practices
                                       (False Advertising)
                                   N.Y. Gen. Bus. Law § 350
                      (On Behalf of Plaintiff and the Nationwide Class
                        or, in the Alternative, the New York Subclass)

       169.    Plaintiff incorporates by reference all preceding allegations contained in this




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Complaint.

        170.    NYGBL § 350 prohibits false advertising in the conduct of any business, trade, or

commerce, or in the furnishing of any service in the State of New York.

        171.    By reason of the conduct alleged herein, Defendants engaged in material and

misleading labeling and advertising of its Waterproof Mascara Products by statements and

omission within the meaning of the NYGBL § 350. The false advertising occurred in part within

New York State.

        172.    Defendants’ Waterproof Mascara Products contain and/or have a material risk of

containing PFAS—a fact they omitted to disclose—and Defendants misrepresented that their

Products were safe for use on eyes. Defendants knew or should have known that their Waterproof

Mascara Products should not contain PFAS and that by manufacturing and providing for

commercial sale Waterproof Mascara Products containing and/or having a material risk of

containing PFAS, Plaintiff and Class members were not getting safe products to use on a sensitive

part of the face, the eye.

        173.    Plaintiff and Class members would not have purchased the Waterproof Mascara

Products at issue had they known the truth about the presence of PFAS. There is no other use for

Defendants’ tainted Products.

        174.    Defendants violated the NYGBL § 350 by designing, manufacturing, marketing,

and selling Waterproof Mascara Products containing and/or having a material risk of containing

PFAS and failing to properly represent, both by affirmative conduct and by omission, the actual

contents of their Waterproof Mascara Products.

        175.    If Defendants had not sold Waterproof Mascara Products containing and/or having

a material risk of containing PFAS, Plaintiff and Class members would not have suffered the extent

of damages caused by Defendants’ sales.

        176.    Defendants’ advertisements and labels for their Waterproof Mascara Products

violate NYGBL § 350 in that, among others things, Defendants actively and knowingly
misrepresented or omitted disclosure of material information, including the fact that Defendants’



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Products contained PFAS, on the labels and advertisements, knowing that Plaintiff and Class

members would see and rely on the labels at the time they purchased the Waterproof Mascara

Products, and that Defendants failed to disclose and give timely warnings or notices regarding the

presence of PFAS in its Waterproof Mascara Products that were purchased by Plaintiff and Class

members.

       177.    The conduct alleged herein constitutes an unconscionable business practice in that

Defendants have, by the use of false statements and/or material omissions in their labels and

advertisements, failed to properly represent and/or concealed the presence of detectable levels of

PFAS in their Waterproof Mascara Products.

       178.    Members of the public, including Plaintiff and Class members, were deceived by

and relied upon Defendants’ affirmative misrepresentations and failures to disclose.

       179.    Such material and misleading advertisements and labels designed and disseminated

by Defendants are and were likely to mislead a reasonable consumer purchasing Waterproof

Mascara Products. The sales of Defendants’ Waterproof Mascara Products in New York, through

such means occurring in New York, were consumer-oriented acts and thereby fall under the New

York consumer protection statute, NYGBL § 350.

       180.    To this day, Defendants continue to engage in unlawful misleading advertising in

violation of the NYGBL § 350. Defendants continue to conceal the defective nature of the

Waterproof Mascara Products and have failed to disclose, on inquiry from Plaintiff and Class

Members, the true nature of the Waterproof Mascara Products, including that they contain and/or

have a material risk of containing PFAS.

       181.    As a direct and proximate cause of Defendants’ conduct, Plaintiff and Class

members suffered actual damages as alleged above.

       182.    In addition to or in lieu of actual damages, because of the injury, Plaintiff and the

Class members seek statutory and treble damages for each injury and violation which has occurred.

       183.    Plaintiff also seeks injunctive relief for Defendants to refrain from the continued
advertising of Waterproof Mascara Products that omits and misrepresents material facts, including



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that the Waterproof Mascara Products contain and/or have a material risk of containing PFAS.

Plaintiff further seeks injunctive relief forcing Defendants to replace all Waterproof Mascara

Products for Class Members.

                                  THIRD CAUSE OF ACTION

                                   Breach of Express Warranty
                        (On Behalf of Plaintiff and the Nationwide Class
                         or, in the Alternative, the New York Subclass)

       184.    Plaintiff incorporates by reference all preceding allegations contained in this

Complaint.

       185.    In connection with its sale of Waterproof Mascara Products, by and through

statements in labels, packaging, and ingredient lists, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to its Waterproof Mascara Products to Plaintiff and the Class, as alleged herein,

including that such Waterproof Mascara Products were safe to use on eyes and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include ingredient lists

and labels that purport to attest to the safety of the Products but fail to include that the Waterproof

Mascara Products contained and/or had a material risk of containing PFAS.

       186.     Defendants advertised, labeled, marketed, and promoted the Waterproof Mascara

Products with such express affirmations of fact and/or promises in such a way as to induce Plaintiff

and Class Members to purchase and use the Waterproof Mascara Products, thereby making an

express warranty that the Waterproof Mascara Products would conform to the representations of

being safe.

       187.    Defendants’ affirmations of fact and/or promises about the Waterproof Mascara

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain.

       188.    Despite the express warranties Defendants created with respect to the Waterproof

Mascara Products, Defendants delivered Waterproof Mascara Products to Plaintiff and the Class
that did not conform to Defendants’ express warranties in that such Waterproof Mascara Products


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were defective, dangerous, and unfit for use, did not contain labels adequately representing the

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose. Specifically, Defendants breached the express

warranties by representing through its labeling, advertising, and marketing materials that their

Waterproof Mascara Products were safe, and intentionally withheld information about the contents

containing detectable levels of PFAS and the risks associated with use of the carcinogenic Products

on the eyes.

       189.    Plaintiff and Class members relied on Defendants’ express promises and

representations that the Waterproof Mascara Products were safe to use on eyes and fit to be used

for their intended purpose as contained on the labels, packaging, and ingredient lists.

       190.    Defendants had sole access to material facts concerning the contents of its

Waterproof Mascara Products and the nature of the risks associated with the use of the Products,

as Defendants expressly stated on their labels the safety of the Products, and knew that consumers

and purchasers, such as Plaintiff and Class members, could not have reasonably discovered that

the statements expressly included in Waterproof Mascara Products’ labels were inadequate and

inaccurate.

       191.    Plaintiff and each member of the Class have had sufficient direct dealings with

Defendants or its agents (including distributors, dealers, and authorized sellers) to establish privity

of contract between Defendants and Plaintiff and each member of the Class.

       192.    As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiff and the Class sustained economic loss in an amount to be proven at trial.

The Waterproof Mascara Products contained and/or had a material risk of containing dangerous

PFAS, which will require Plaintiff and Class Members to incur costs to prematurely replace the

product and costs to discontinue use of the product before its expiration.

       193.    As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiff and the Class seek an order awarding compensatory damages and any other just and




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proper relief available under the law.

                                FOURTH CAUSE OF ACTION

                                  Breach of Implied Warranty
                       (On Behalf of Plaintiff and the Nationwide Class
                        or, in the Alternative, the New York Subclass)

       194.    Plaintiff incorporates by reference all preceding allegations contained in this

Complaint.

       195.    At all relevant times, Defendants were merchants of Waterproof Mascara Products

that were sold to Plaintiff and Class members and were in the business of marketing, promoting,

and selling such Products to the consuming public. Defendants designed, developed, and sold the

Waterproof Mascara Products knowing that Plaintiff and Class members would use it.

       196.    Each Waterproof Mascara Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Defendants expected the consuming public, including Plaintiff and Class members, to use the

Waterproof Mascara Products and such use was reasonably foreseeable. And Plaintiff and Class

members expected the Waterproof Mascara Products to be useable and to perform in a manner

consistent with their packaging and labeling.

       197.    Defendants breached their implied warranty of merchantability because their

Waterproof Mascara Products were not in merchantable condition when sold because they contain

or have a material risk of containing dangerous PFAS.

       198.    Defendants’ Waterproof Mascara Products are not fit for the ordinary purpose for

which they were sold because they contain or have a material risk of containing dangerous PFAS.

       199.    Defendants did not properly disclaim the warranty of merchantability and fitness

for a particular purpose.

       200.    Plaintiff and Class members were injured as a direct and proximate result of

Defendants’ breaches of implied warranties of merchantability. Plaintiff and members of the Class

were damaged as a result of Defendants’ breaches of implied warranties of merchantability
because, had they been aware of the unmerchantable condition of the Waterproof Mascara


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Products, they would not have purchased such Products.

       201.    As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiff and the Class seek an order awarding compensatory damages and any

other just and proper relief available under the law.

                                  FIFTH CAUSE OF ACTION

                                       Unjust Enrichment
                       (On Behalf of Plaintiff and the Nationwide Class
                        or, in the Alternative, the New York Subclass)

       202.    Plaintiff incorporates by reference all preceding allegations contained in this

Complaint.

       203.    As the intended and expected result of their conscious wrongdoing alleged herein,

Defendants have profited and benefited from Plaintiff’s and Class members’ purchases of the

Waterproof Mascara Products. Plaintiff’s and Class members’ payments for the Waterproof

Mascara Products flowed to Defendants.

       204.    Defendants voluntarily accepted and retained these profits and benefits derived

from Plaintiff and the Class, with full knowledge and awareness that, as a result of their

misconduct, Plaintiff and the Class were not receiving products of the quality, nature, fitness, or

value that had been represented by Defendants and that Plaintiff and the Class, as reasonable

consumers, expected for a product applied to the eye.

       205.    If Plaintiff and Class members knew the Defendants’ Waterproof Mascara Products

were not safe and contained PFAS as alleged herein, they would not have purchased Defendants’

Waterproof Mascara Products.

       206.    Defendants have been unjustly enriched by their fraudulent and deceptive

withholding of benefits to their customers at the expense of Plaintiff and the Class.

       207.    Defendant profited from Plaintiff’s and the Class’s purchases and used Plaintiff’s

and Class members’ monetary payments for business purposes. Defendants’ retention of these

profits and benefits is inequitable and against good conscience. Principles of equity and good




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conscience preclude Defendants from retaining these profits and benefits.

       208.    As a direct and proximate result of Defendants’ unjust enrichment, Plaintiff and the

Class suffered injury and seek the disgorgement and restitution of Defendants’ wrongful profits,

revenue, and benefits, plus interest, to the extent and in the amount deemed appropriate by the

Court, and such other relief as the Court deems just and proper to remedy Defendants’ unjust

enrichment.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment against Defendants and in

favor of Plaintiff, and to award the following relief:

   a) Certification of the Class with Plaintiff appointed as class representative and the

       undersigned appointed as Class Counsel;

   b) Find that Defendants engaged in the unlawful conduct as alleged herein and enjoin

       Defendants from engaging in such conduct;

   c) Enter a monetary judgment in favor of Plaintiff and the Class to compensate them for the

       injuries suffered, together with pre-judgment and post-judgment interest, punitive

       damages, and penalties where appropriate;

   d) Injunctive relief requiring Defendants to replace all Waterproof Mascara Products owned

       by the Class, and enjoining Defendants from continuing to mislabel Waterproof Mascara

       Products and require Defendants to disclose the true nature of the Waterproof Mascara

       Products, including that they contain and/or have a material risk of containing PFAS;

   e) A declaration that Defendants must disgorge, for the benefit of the Class, all or part of its

       ill-gotten profits received from the sale of the Waterproof Mascara Products;

   f) An award of all actual, general, special, incidental, statutory, treble, or other multiple,

       punitive and consequential damages under statutory and common law as alleged in this

       Complaint, in an amount to be determined at trial;

   g) Award Plaintiff and the Class reasonable attorneys’ fees and costs of suit, as allowed by
       law; and



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   h) Award such other and further relief as this Court may deem just and proper.

                                 JURY TRIAL DEMANDED

      Plaintiffhereby demand a trial by jury.



Dated: April 1, 2022                        Respectfully submitted,



                                                /s/ James Bilsborrow

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